                      IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION
 IN RE LOUIS A. TELERICO                             CASE NO. 17-50236
                    Debtor                           CHAPTER 11
                                                     JUDGE ALAN M. KOSCHIK

 MOTION OF LOUIS A. TELERICO DEBTOR AND DEBTOR IN POSSESSION TO SELL A PARCEL OF
      REAL ESTATE FREE AND CLEAR OF ALL LIENS, CLAIMS AND ENCUMBRANCES
        Louis A. Telerico Debtor and Debtor in Possession (“Debtor”), moves the Court pursuant

 to 11 U.S.C. §363(f) for the sale of the estate’s interest in a vacant parcel of real property located

 on Glengarry Drive.

                                            BACKGROUND
 1. The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. Venue

 is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a "core" proceeding

 pursuant to 28 U.S.C. § 157(b)(2)(A), (M) and (O). The statutory predicate for the relief sought

 herein is §363(b) and (f) of the Bankruptcy Code.

 2. Debtor is the Trustee of the Louis A. Telerico 2010 Amended and Restated Revocable Trust

 Indenture dated February 1, 2010 (hereinafter referred to along with the predecessor trusts

 described below as the “Trust”). The Trust amended and restated the Debtor’s 2007 Amended

 and Restated Revocable Trust dated April 30, 2007, which itself amended and restated the

 Debtor’s Elaine J. Telerico Revocable Trust dated November 4, 1992. Under the 2010 Trust

 indenture all property of the prior trusts became property of the Trust.

 3. Among the assets titled in the Trust is a house and approximately 2 acres of land at 545

 Bristol Dr., Aurora Ohio, identified by permanent parcel number 03-016-00-00-173-003 and

 used by the Debtor as his residence (“Home”), and three adjacent parcels of land one at 132

 Bristol Drive, Aurora Ohio identified by permanent parcel number 03-016-00-00-177-000

 (“Bristol Parcel”) and Lot 130-A, 130-R, and 133 Glengarry Drive, Aurora, Ohio 44202 and


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 identified by permanent parcel numbers 03-016-00-00-173-001 and 03-016-00-00-173-002

 (collectively the “Glengarry Parcels” and with the Bristol Parcel the “Parcels” and both

 collectively with the Home, the “Real Estate”).

 4. The Home has an appraised value of $4,000,000.00 and the Parcels have an appraised value

 collectively of $473,000.

 5. Brad Cromes, Treasurer for Portage County Ohio (“Portage County Treasurer”) has a real

 estate tax lien against the home in the amount of $424,793.37 that is a first priority lien against

 the Home, a real estate tax lien against the Glengarry Parcels in the amount of $10,911.33 and

 $13,065.02 that is a first priority lien against them, and a real estate tax lien against the Bristol

 Parcel in the amount of $4,051.89 that is a first priority lien against it.

 6. On or about July 25, 2001 the Debtor executed a promissory note payable to Bank of

 America NA (“BOA”) in the principal amount of $3,000,000.00 (“BOA Note”). To secure

 repayment of the Note on or about the same date the Trust as mortgagor gave to BOA a

 mortgage interest in the House that is a second priority lien against it.

 7. On March 31, 2017 BOA filed proof of claim no. 11 in the Debtor’s bankruptcy case

 asserting that $3,732,925.43 was owed on the BOA Note.

 8. On or about December 4, 2009 the Debtor executed a promissory note payable to Stifel in the

 principal amount of up to $400,000.00 (“Stifel Note”). To secure repayment of the Note on or

 about the same date the Trust as mortgagor gave to Stifel a deed of trust granting it a mortgage

 interest in the Real Estate that is a second priority lien against the Parcels although a third

 priority mortgage against the House (“Stifel Mortgage”).

 9. On June 14, 2017, Stifel filed two proofs of claim: (i) a secured claim (the “Secured Claim”)

 in the amount of $430,414.61 for amounts outstanding on the Stifel Note; secured and perfected




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 by a deed of trust on the Real Estate, as more fully described in proof of claim number 20 and

 related exhibits; and (ii) an unsecured claim (the “Unsecured Claim” and, together with the

 Secured Claim, the “Stifel Claims”) in the amount of $125,156.75 for amounts outstanding on a

 promissory note and related advanced tax payments as more fully described in proof of claim

 number 21 and related exhibits.

 10. On or about August 23, 2011 BOA filed a foreclosure proceeding against the Debtor in the

 Portage County Court of Common Pleas styled Bank of America Nat’l Banking Assoc. v. Louis

 A. Telerico, et al., Case No. 2011-CV-1105 (“Foreclosure Action”) seeking to foreclose on the

 BOA Mortgage against the Home.

 11. The Debtor believes that the Stifel Note and Mortgage were in fact transactions to disguise

 an advance of commissions to the Debtor that he would earn as a broker for Stifel. In 2013 the

 Debtor commenced an arbitration proceeding against Stifel and others with the Financial

 Industry regulatory Authority (FINRA) alleging fraud and breach of contract among other things,

 and asserting that his claims exceeded the amount due on the Stifel Note (“Arbitration”). That

 Arbitration was stayed by the filing of this bankruptcy case.

 12. In 2013 Stifel filed a motion for summary judgment in the Foreclosure Action on the Stifel

 Note which was granted on March 4, 2015.

 13. On February 5, 2017 the Debtor filed this bankruptcy case.

 14. On January 25, 2018 the Debtor file an adversary proceeding Louis A. Telerico, Debtor-in-

 Possession v. Portage County Treasurer et al. Adv. No. 18-5008 (“Adversary”). In the

 Adversary the Debtor seeks to determine the extent, validity and priority of various liens and

 interests in the Real Estate, and in particular alleged that with regard to the Stifel Note and

 Mortgage his claims exceeded the amount due on the Stifel Note.




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 15. On February 26, 2018 Stifel filed a motion to dismiss the Adversary as to it based in part on

 the judgment it obtained in the Foreclosure Action. The Debtor opposed Stifel’s motion on

 March 15, 2018 and it remains pending with this Court.

 16. On June 12, 2018 the Debtor filed his Plan of Reorganization Version 1.3 of the Debtor

 [Doc.114] (“Plan”).

 17. On August 2, 2018 Stifel submitted a ballot rejecting the Plan.

                                      PROPOSED COMPROMISE
 18. In a separate Motion of Louis A. Telerico Debtor and Debtor in Possession for Authority to

 Compromise Controversies with Stifel, Nicolas & Company, Inc. [Doc. ____] (“Compromise

 Motion”) the Debtor requests that the Court approve as a compromise with Stifel for $125,000 as

 described in the proposed settlement agreement attached as the Compromise Motion as Exhibit

 A. The proposed compromise will be paid from the net proceeds of sale of the Parcels, one of

 which is the subject of this as set forth below and other similar such motions to sell may be filed

 in the future. The Stifel liens will be released against (i) the Home upon approval of the

 proposed compromise and Stifel’s receipt of 50% of the settlement payment; and (ii) the Parcels

 upon approval of the proposed compromise and Stifel’s receipt of 100% of the settlement

 payment. In addition the Debtor and the estate will release Stifel from any and all claims,

 including but not limited to those raised in the Arbitration, and Stifel will be dismissed from the

 Adversary with prejudice pursuant to an agreed upon judgment in the form attached to the

 settlement agreement.

 19. In return, Stifel will release the estate from any other claim other than the $125,000, the

 Stifel Mortgage will be avoided in its entirety against the Home (upon receipt of 50% of the

 settlement payment), and the Stifel Mortgage in excess of $125,000 against the Parcels will be




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 avoided and preserved for the benefit of the estate pursuant to 11 U.S.C. §551 upon Stifel’s

 receipt of 100% of the settlement payment.

 20. The Plan will be modified to reflect these agreements and Stifel will vote to accept the

 modified plan.

                                             PROPOSED SALE
 21. The Debtor seeks to sell a vacant lot at Lot 130-A Glengarry Drive, Aurora, Ohio 44202 and

 identified by permanent parcel number 03-016-00-00-173-001 (“Glengarry 130-A”). The Debtor

 proposes to sell the estate’s interest in Glengarry 130-A for $75,000.00 (“Gross Proceeds”) on

 the terms and conditions set forth in the offer to purchase from David Novotny (“Buyer”)

 attached hereto as Exhibit A. Buyer has no connection to the Debtor or the estate and seeks to

 purchase Glengarry 130-A in good faith.

 22. Title to Glengarry 130-A is in the name of the Trust. The Debtor is both the trustee and

 settlor of the Trust which is revocable at the Debtor’s discretion. Glengarry 130-A is therefore

 property of this bankruptcy estate.

 23. The only interest superior to the Stifel Mortgage in Glengarry 130-A are the lien for real

 estate taxes.

 24. The Portage County Auditor’s fair market appraisal for Glengarry 130-A is $105,300.00, but

 that value is over 5 years old and land values have dropped in the area since 2012. The Debtor

 had the Parcels appraised and the value of the Glengarry Parcels was collectively $268,000, and

 while the Glengarry Parcels are not separately valued in that appraisal this is the smaller and less

 desirable of the Glengarry Parcels and the Debtor believes that the proposed sales price is

 therefore fair and reasonable for Glengarry 130-A.

 25. There are numerous holders of an interest in Glengarry 130-A, but all such holders of any

 interest consent to the sale free of their interest.


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 26. Many of the interests in Glengarry 130-A are in bona fide dispute. .

 27. As the remaining interests are junior in priority to the Stifel Mortgage, the holder of any

 interest in Glengarry 130-A may be compelled in a legal or equitable proceeding to accept a

 money satisfaction of such interest.

 28. In order to provide adequate protection of any interest in Glengarry 130-A, the real estate

 taxes through the date of closing will be paid to Portage County Treasurer. There is also due a

 real estate broker commission of 7% and the usual and customary closing costs and prorations.

 After payment of these amounts the remaining amount (the “Net Proceeds”) will be paid to

 Stifel. All other interests in Glengarry 130-A will be determined by a later order of this Court, in

 accordance with the respective rights and priorities of the holders of any interest in Glengarry

 130-A, as such right appears and is entitled to be enforced against Glengarry 130-A, the Estate or

 the Debtor under the Bankruptcy Code or applicable non-bankruptcy law.

 29.   Therefore Glengarry 130-A may be sold free of any interest of any other entity.

          THEREFORE, the Debtor respectfully requests that this Court enter an order approving

 the sale of Glengarry 130-A free and clear of liens.

                                                          Respectfully submitted,
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                                         CERTIFICATE OF SERVICE

 A copy of this Motion to Sell was served on the following on the date filed by Notice of Electronic Filing or email.
 The following is a list of the parties who are on the list to receive e-mail notice/service for this case:


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 17-50236 Notice will be electronically mailed to the U.S. Trustee, and:
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                                                            EXHIBIT
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